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                          UNITED STATES DISTRICT
                         COURT FOR THE DISTRICT OF
                                COLUMBIA


UNITED STATES OF AMERICA                   :
                                           :
       v.                                  : CRIMINAL NO. 21-mj-434
                                           :
JAMES BREHENY,                             :
    Defendant.                             :


                          CONSENT MOTION TO CONTINUE

       The United States of America, by and through its attorney, the United States Attorney

for the District of Columbia, respectfully files this Consent Motion to Continue and

toll the above-captioned matter that was scheduled for a hearing on May 5, 2022. The

government and the defendant agree that there is good cause to continue the matter due

to ongoing plea negotiations. Defendant concurs in this request and agrees that it is in

his best interest. The parties are requesting a new hearing date scheduled on or about

June 30, 2022 at 1 PM.

       The parties request that the time between today’s date and the next date in this matter

be excluded from time calculation under the Speedy Trial Act for the reasons previously

stated on the record.




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                        Respectfully submitted,

                        MATTHEW GRAVES
                        ACTING UNITED STATES ATTORNEY

                 By:    /s/ Louis Manzo
                       Louis Manzo
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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



 UNITED STATES OF AMERICA                      :
                                               :
         v.                                    : CRIMINAL NO. 21-mj-434
                                               :
 JAMES BREHENY,                                :
     Defendant.                                :


                                             ORDER

        This matter having come before the Court pursuant to a Consent Motion to Continue, it

is therefore:

        ORDERED that the complaint and previous order of pre-trial release with conditions of

supervised release remain in full force and effect.

       ORDERD that the matter is continued until June 30, 2022 at 1 PM.

       ORDERED that the period from May 5, 2022 through the next status date shall be

excluded from computing time under the Speedy Trial Act, including the time within which an

information or indictment must be filed, because the ends of justice served by such a

continuance outweigh the interests of the public and the defendant in a speedy trial. See 18

U.S.C. '' 3161(h)(1) & (h)(7). The Court finds that there is voluminous and evolving discovery,

and that delay is necessary for the parties to consider resolutions.

                                               It Is So Ordered.


                                               ______________________________________
                                               Robin Meriweather
                                               United States Magistrate Judge


Entered: ___________________________
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                           CERTIFICATE OF SERVICE

       I hereby certify that a copy of the Consent Motion to Exclude Time for Indictment
was served upon counsel of record for the defendant through the electronic court filing
system, this 2nd day of May 2022.



                           By:     /s/ Louis Manzo
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